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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          8:20-cv-00314-JLS-ADS                                         Date      April 20, 2020
 Title             United African Asian Abilities Club et al v. Midway Manor Apartments, L.P. et al.




 Present: The
 Honorable                       JOSEPHINE L. STATON, U.S. DISTRICT JUDGE
                       Terry Guerrero                                          Not Present
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                           Not Present
 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE WHY THIS CASE SHOULD
                         NOT BE DISMISSED FOR LACK OF PROSECUTION


        Counsel is hereby ordered to show cause in writing no later than April 24, 2020, why this
case should not be dismissed pursuant to F.R.Civ.P. Rule 41, for lack of prosecution. No oral
argument of this matter will be heard unless ordered by the Court. The Order to Show Cause
will stand submitted upon the filing of an appropriate response.

        Counsel is advised that the Court will consider either the filing of a responsive pleading
to the complaint by the defendant(s) in accordance with the Federal Rules of Civil Procedure and
the Local Rules, or an application by plaintiff for entry of clerk’s default as to the defendant(s),
on or before the date upon which the response is due, as a satisfactory response to the Order to
Show Cause.



Plaintiff shall serve notice of this Order on all parties in this action.




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                                                               Initials of Preparer   tg




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